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6     Attorneys for Defendant Chase Bank
      USA, N.A. (erroneously sued herein as
7     “JPMorgan Chase Co.”)
8                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
9                                      AT YAKIMA

10   GARY ZIEGLER,                              )
                                                )
11                                 Plaintiff,   )    No. 1:18-cv-03145
                                                )
12            v.                                )    NOTICE OF REMOVAL TO
                                                )    FEDERAL COURT
13   JPMORGAN CHASE CO.,                        )
                                                )
14                               Defendant.     )
                                                )
15                                              )

16            Defendant Chase Bank USA, N.A. (erroneously sued herein as “JPMorgan
17   Chase Co.”) (“Chase”), by and through its undersigned counsel, hereby removes
18   the above-captioned action, currently pending in the District Court of
19   Washington for Yakima County, to the United States District Court for the
20   Eastern District of Washington. Removal is based on 28 U.S.C. §§ 1331 (federal
21   question jurisdiction) and authorized by 28 U.S.C. §§ 1441 and 1446. As grounds
22   for removal, Chase states:

     NOTICE OF REMOVAL TO FEDERAL COURT - 1                              LANE POWELL PC
                                                                  1420 FIFTH AVENUE, SUITE 4200
     No. 1:18-cv-03145                                                     P.O. BOX 91302
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1                                       I.   BACKGROUND

2             1.        On or about July 9, 2018, Plaintiff Gary Ziegler (“Plaintiff”)

3    commenced this action by filing a Small Claim and Notice of Mediation Hearing

4    (the “Complaint”) against Chase in the District Court of Washington for Yakima

5    County (the “State Court Action”).

6             2.        On or about July 11, 2018, Chase received a copy of the Complaint.

7             3.        In the Complaint, Plaintiff alleges one claim, a violation of the

8    federal Fair Credit Billing Act, 15 U.S.C. § 1666 et seq. (“FCBA”).

9                              II.   STATUTORY REQUIREMENTS

10            4.        Removal of this case is proper pursuant to this Court’s federal

11   question jurisdiction under 28 U.S.C. § 1331, which provides federal district

12   courts with original jurisdictions of all civil actions arising under the

13   Constitution, laws, or treaties of the United States. Plaintiff’s FCBA allegation

14   arises under the laws of the United States. See 15 U.S.C. § 1666 et seq.

15                           III.    PROCEDURAL REQUIREMENTS

16            5.        Removal to this Court is Proper. Pursuant to 28 U.S.C. §§ 1441(a)-

17   (b) and 1446(a), Chase files this Notice of Removal in the United States District

18   Court for the Eastern District of Washington, which is the federal district court

19   embracing the state court where Plaintiff has brought the State Court Action -

20   Yakima County, Washington. Venue is proper in this district pursuant to 28

21   U.S.C. 1391(a) and 28 U.S.C. 128(b).

22

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1             6.        Removal is Timely. The Complaint was received by Chase on July

2    11, 2018. Chase has filed this Notice within 30 days after receipt or service of

3    the Complaint in the State Court Action, and as such, removal is timely. See 28

4    U.S.C. § 1446(b)(2)(B).

5             7.        Consent. Chase is the only defendant in this action; therefore,

6    consent of other defendants to removal of the State Court Action is not required.

7             8.        Bond and Verification. Pursuant to Section 1016 of the Judicial

8    Improvements and Access to Justice Act of 1988, no bond is required in

9    connection with this Notice of Removal. Pursuant to Section 1016 of the Act,

10   this Notice need not be verified.

11            9.        Signature. This Notice of Removal is signed pursuant to Federal

12   Rule of Civil Procedure 11. See 28 U.S.C. § 1446(a).

13            10.       Pleadings and Process. A true and correct copy of the current docket

14   sheet in the State Court Action is attached to the Declaration of James Zack in

15   Support of Notice of Removal to Federal Court as Exhibit A. See 28 U.S.C. §

16   1446(a). Chase has paid the appropriate filing fee to the Clerk of this Court upon

17   the filing of this Notice.

18            11.       Notice. Chase will promptly serve Plaintiff and file with this Court

19   their Notice of Removal to All Adverse Parties, informing Plaintiff that this

20   matter has been removed to federal court. See 28 U.S.C. §§ 1446(a), (d). Chase

21   will also promptly file with the Clerk of the District Court of Washington for

22   Yakima County, and serve on Plaintiff, a Notice to Clerk of Removal to Federal

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1    Court, pursuant to 28 U.S.C. § 1446(d).

2             WHEREFORE, this action should proceed in the United States District

3    Court for the Eastern District of Washington, as an action properly removed

4    thereto.

5             DATED: August 1, 2018

6                                            LANE POWELL PC
7

8                                            By s/ John S. Devlin III
                                                John S. Devlin III
9                                               WSBA No. 23988
                                                devlinj@lanepowell.com
10
                                             By s/ Pilar C. French
11                                              Pilar C. French
                                                WSBA No. 33300
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13                                           By s/ James B. Zack
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                                             Attorneys for Defendant Chase Bank
19                                           USA, N.A.

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1                             CERTIFICATE OF SERVICE

2             I hereby certify that on the day indicated below I caused the foregoing

3    document to be filed with the Clerk of the Court via the CM/ECF System, which

4    will notify and provide service to all attorneys and parties of record.

5             In addition, I hereby certify that I mailed the foregoing document via

6    United States Postal Service to the following non-CM/ECF participants:

7             Mr. Gary Ziegler
              7601 State Route 410
8             Naches, WA 98937
9             DATED this 1st day of August, 2018.

10

11                                    s/ Peter Elton
                                      Peter Elton
12                                    Legal Assistant
13

14

15

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21

22

     NOTICE OF REMOVAL TO FEDERAL COURT - 5                            LANE POWELL PC
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